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Juror ID:________                          DRAFT
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                                         S3 24 Cr. 542 (AS)
         -v.-
                                                                JURY QUESTIONNAIRE
 SEAN COMBS,
   a/k/a “Puff Daddy,”
   a/k/a “P. Diddy,”
   a/k/a “Diddy,”
   a/k/a “PD,”
   a/k/a “Love,”

                          Defendant.



                               PRELIMINARY INSTRUCTIONS
Please read the following instructions carefully before completing any portion of this
questionnaire. Please print your juror number in the space provided at the top of each page. Do
not write your name on the questionnaire. Please answer each and every question fully. Some
questions have more than one part.
YOU ARE SWORN TO GIVE TRUE AND COMPLETE ANSWERS TO ALL QUESTIONS
IN THIS QUESTIONNAIRE. This questionnaire is designed to help simplify and shorten the
jury selection process. The purpose of the questionnaire is to determine whether prospective jurors
can decide this case impartially based upon the evidence presented at trial and the legal instructions
given by the presiding judge. The questions are not intended to inquire unnecessarily into personal
matters. Although some of the questions may appear to be of a personal nature, please understand
that the Court and the parties must learn enough information about each juror’s background and
experiences to select a fair and impartial jury.
Please answer all questions to the best of your ability. If you do not know the answer to a question,
then write, “I don’t know.” There are no “right” or “wrong’ answers, only truthful answers. If you
have strong feelings about this case in general, please do not hesitate to share them. Although you
may be a perfectly good juror in another case, this may or may not be the right case for you to sit
as an impartial juror. Both parties have the right to get honest answers and to hear your true
opinions. Remember, you are sworn to give true and complete answers to all questions.
DO NOT DISCUSS YOUR QUESTIONS AND ANSWERS OR THE CASE WITH
ANYONE NOW OR UNTIL FURTHER INSTRUCTED BY THE COURT. You should not
discuss the questions or answers with fellow jurors. It is very important that your answers be your
own individual answers. More broadly, do not discuss the case with anyone, including the lawyers
(except in the presence of the Court), your fellow jurors, your family, your friends, or anyone else.
Do not communicate about the case in any way, including telephone, e-mail, any social media app

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or website (such as Facebook), and communications app or website (such as X). You must also
avoid reading or hearing about the case (or anyone participating in the case) in newspapers, in
magazines, on the radio or television, on social media, or on the Internet.
DO NOT DO YOUR OWN RESEARCH ON THE CASE. Do not conduct any research into
the case (or anyone participating in the case) at any time before your entire jury service has been
completed. That includes performing Internet or social media searches, asking other people about
the case, reading news stories, books, or reports about the case, or watching films, television, or
streaming programs that relate to the case. Do not read, watch, or listen to any information about
this case.
Your name will not be disclosed or connected to this questionnaire beyond the Judge and the parties
in this case. However, if you believe that any of your answers contain private information that
could embarrass you or otherwise seriously compromise your privacy and wish to request that the
Court keep them confidential and not distribute them beyond the Judge and the parties, please
indicate the particular question number at the end of the questionnaire.
                                  SUMMARY OF THE CASE
The Court is selecting a jury for a trial commencing on Monday, May 12, 2025. Although it
is never possible to predict the length of a trial, currently this trial is expected to last
approximately eight weeks.
This is a criminal case. The defendant, Sean Combs, a/k/a “Puff Daddy,” a/k/a “P. Diddy,” a/k/a
“Diddy,” a/k/a “PD,” a/k/a “Love,” has been charged in an Indictment with various criminal
offenses. The Indictment is not evidence. It simply contains the charges—referred to as
“counts”—that the Government intends to prove to the jury at trial beyond a reasonable doubt.
The charges in the Indictment stem from allegations that from at least 2004 through 2024, the
defendant—with assistance from employees and associates of businesses he controlled and ran,
including a recording studio, a liquor brand, a clothing brand, a media company, and other lifestyle
companies—allegedly committed multiple crimes intended to protect the defendant’s status and
reputation and to satisfy the defendant’s personal desires. These alleged crimes included
kidnapping, arson, bribery of a witness, obstruction of justice, drug distribution, forced labor, sex
trafficking of multiple adult female victims who the defendant allegedly coerced to engage in sex
acts with him and/or with male escorts, and the transportation of those victims and male
commercial sex workers for purposes of engaging in commercial sex acts.
The Indictment charges the defendant in 5 counts: Count One of the Indictment charges the
defendant with participating in a racketeering conspiracy during which he agreed with other
employees and associates of his businesses to commit kidnapping, arson, bribery of a witness,
obstruction of justice, drug distribution, forced labor, sex trafficking, and transportation for
purposes of engaging in prostitution. Count Two charges the defendant with sex trafficking an
adult female victim through force, fraud, and coercion. Count Three charges the defendant with
transporting that female victim and male commercial sex workers to engage in prostitution. Count
Four charges the defendant with sex trafficking a second adult female victim through force, fraud,
and coercion. Count Five charges the defendant with transporting that second female victim and
male commercial sex workers to engage in prostitution.



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Mr. Combs has pled not guilty to all charges. Mr. Combs is presumed innocent, and before he can
be found guilty on any charge, the jury must find that the Government has proven each element of
that crime beyond a reasonable doubt.
                                          SCHEDULE
Potential jurors will be called back for further questioning and jury selection from Monday,
May 5, 2025 through Friday, May 9, 2025. Your availability during that week will be
required.
The trial will commence on Monday, May 12, 2025. The trial is expected to last about eight
weeks. Generally, trial will be held five days per week, Monday through Friday. During the
first week of trial from Monday, May 12, 2025 through Friday, May 16, 2025, trial will be
held from 9:30 a.m. until 5:00 p.m. After the first week, trial will be held from 9:30 a.m. until
3:00 p.m. Trial will not be held on Friday, May 23, 2025 (Friday before Memorial Day),
Monday, May 26, 2025 (Memorial Day), Thursday, June 19, 2025 (Juneteenth), or Friday,
July 4, 2025 (Independence Day).
If you are selected as a juror, you will be required to be present for the taking of testimony and
evidence for as long as the trial lasts. There are no plans to sequester the jury, which means you
will go home every day after court.
All jury service involves some degree of hardship. Our court and justice system depends on
citizens doing their civic duty to serve as jurors, which involves temporarily putting aside their
regular business for jury service. The Court views service on a jury to be one of the highest duties
a citizen owes to the United States. Mere inconvenience or the usual financial hardship of jury
service will not be sufficient to excuse a prospective juror. You must show extraordinary personal
or financial hardship to be excused from service.
               (Please turn the page and read and complete the questionnaire.)




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                                     ABILITY TO SERVE
1.   Do any circumstances exist such that serving on the jury in this case would entail serious
     hardship or extreme inconvenience?
                            □ Yes                          □ No
     If yes, please briefly describe the undue hardship or extreme inconvenience:




     Please note: In the event you are excused from service on this jury, you will likely not be
     excused from jury service in general. You will instead be required to report to the
     Court’s Jury Clerk for placement on another panel for another case.
2.   Do you have any personal commitments that would make it difficult for you to get to
     court by 9:30 a.m., every day of trial, or remain at the courthouse until [5:00 p.m.]?
                            □ Yes                          □ No
     If yes, please explain why you would be unable to get to court by 9:30 a.m. or remain
     until [5:00 p.m.]:




3.   Do you have any difficulty reading, speaking, or understanding English?
                            □ Yes                          □ No
4.   Do you have any medical, physical, or mental condition or illness that makes you unable
     to serve on a jury, including difficulty hearing, seeing, reading, or concentrating?
                            □ Yes                          □ No
     If yes, please briefly describe the condition or illness. If you believe you could serve as a
     juror if such condition were accommodated in some way, please state the
     accommodation.




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5.   Are you taking any medication which would prevent you from giving full attention to all
     the evidence at this trial?
                               □ Yes                        □ No
     If yes, please explain:




6.   Do you have any pre-paid travel plans between May 12, 2025 and July 3, 2025?
                               □ Yes                        □ No
     If yes, please describe your plans and the dates of travel (without indicating the name of
     where you work or the names of any family members or friends, or other personal
     information that might identify who you are):



     __________________________________________________________________
7.   Do you have any religious, philosophical, or other beliefs that would make you unable to
     render a verdict in a criminal case?

                               □ Yes                       □ No

     If yes, please explain:




8.   The charges in this case involve allegations of kidnapping, arson, bribery of a witness,
     obstruction of justice, drug distribution, forced labor, sex trafficking, and transportation
     for purposes of engaging in prostitution. Is there anything about the nature of these
     allegations that would make it difficult for you to be fair and impartial?

                               □ Yes                       □ No

     If yes, please explain:




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             BASIC LEGAL PRINCIPLES AND MEDIA RESTRICTIONS

9.   Under the law, the facts are for the jury to determine, and the law is for the Judge to
     determine. You are required to accept the law as the Judge explains it to you even if you
     do not like the law or disagree with it, and you must determine the facts according to
     those instructions. Do you accept this principle, and will you be able to follow the
     Judge’s instructions if selected to serve on this jury?
                              □ Yes                       □ No
     If no, please explain:




10. The law provides that a defendant in a criminal case is presumed innocent at all stages of
    the trial and is not required to put on any defense at all. The Government is required to
    prove the defendant guilty beyond a reasonable doubt on each charge. Do you accept
    these principles, and will you be able to apply them if selected to serve on this jury?
                              □ Yes                       □ No
     If no, please explain:




11. The law provides that a defendant in a criminal case has an absolute right not to testify,
    and that a juror cannot hold it against the defendant if he chooses not to testify. Do you
    accept this principle, and will you be able to apply it if selected to serve on this jury?
                              □ Yes                       □ No
     If no, please explain:




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12. A juror is required by law to make his or her decision based solely on the evidence or
    lack of evidence presented in Court, and not on the basis of conjecture, suspicion, bias,
    sympathy, or prejudice. Do you accept this principle, and will you be able to apply it if
    selected to serve on this jury?
                              □ Yes                       □ No
     If no, please explain:




13. Under the law, the question of punishment is for the Court alone to decide, and thus the
    issue of punishment must not enter into your deliberations as to whether the defendant is
    guilty or not guilty as charged. Do you accept this principle, and will you be able to
    apply it if selected to serve on this jury?
                              □ Yes                       □ No
     If no, please explain:




14. This case is likely to receive ongoing media attention. As instructed above, from now
    until your jury service is complete, you are instructed to avoid all media coverage and
    not to go on the Internet or social media with regard to this case for any purpose. That is,
    you are forbidden from consuming any news media or social media about this case, and
    from discussing this case (or anyone participating in the case) outside of the courtroom.
    You also must not discuss this case with anyone. This includes your family, friends,
    spouse, domestic partner, colleagues, and co-workers. These instructions apply from
    now and until you are either dismissed from jury selection or chosen as a juror and the
    trial is complete. When we return for the next step in jury selection, the Judge will ask
    you if you have followed this instruction.
     Do you have any reservations or concerns about your ability or willingness to follow this
     instruction?
                              □ Yes                       □ No
     If no, please explain:




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                                  PRIOR JURY SERVICE

15. Have you ever served as a juror in a trial in any court?
                               □ Yes                       □ No
     If yes, without saying what the verdict was, did the jury reach a verdict?
                               □ Yes                       □ No
16. Have you ever served as a member of a grand jury in any court?
                               □ Yes                       □ No
17. Is there anything about your past jury service that would prevent you from acting as a fair
    and impartial juror in this case?
                               □ Yes                       □ No
     If yes, please explain:




                         RELATIONSHIP WITH PARTICIPANTS

18. Do you or does any member of your family or a close friend personally know or have
    past or present dealings with any of the following individuals?
         a. The defendant in this case, Sean Combs, or his family members
                               □ Yes                       □ No
         b. The Acting U.S. Attorney for the Southern District of New York, Matthew
            Podolsky, or anyone else who works for or used to work for the U.S. Attorney’s
            Office for the Southern District of New York
                               □ Yes                       □ No
         c. Any of the Assistant United States Attorneys who are prosecuting this case:
                Maurene Comey              □ Yes          □ No
                Meredith Foster            □ Yes          □ No
                Emily Johnson              □ Yes          □ No
                Christy Slavik             □ Yes          □ No
                Madison Smyser             □ Yes          □ No
                Mitzi Steiner              □ Yes          □ No

         d. Any of the defense attorneys or law firms who are representing the defendant:


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                 Marc Agnifilo of Agnifilo Intrater LLP                  □ Yes □ No
                 Teny Geragos of Agnifilo Intrater LLP                   □ Yes □ No
                 Anna Estevao of Sher Tremonte LLP                       □ Yes □ No
                 Alexandra Shapiro of Shapiro Arato Bach LLP             □ Yes □ No
                 Jason Driscoll of Shapiro Arato Bach LLP                □ Yes □ No

         e. The United States District Court Judge who is presiding over this case, Arun
            Subramanian, or anyone who works on his staff?
                              □ Yes                        □ No
      If you answered “yes” to any of the above sub-questions (14.a, 14.b, 14.c, 14.d, or 14.e),
      please explain whom you know, how you know the individual(s), and whether your
      relationship with that person might make it difficult for you to be a fair and impartial
      juror in this case:




                                  KNOWLEDGE OF CASE

This case and other matters involving Mr. Combs have been widely reported in the national
and local media. There is nothing wrong with having seen or heard something about this
case or about Mr. Combs. It is important to answer all of the following questions truthfully
and fully.

 19. Before today, had you read, seen, or heard anything about Mr. Combs or the criminal
     charges brought against Mr. Combs?
                              □ Yes                        □ No
      If yes, please summarize what you have learned and from where (i.e., from news
      reporting, social media, television, conversations with friends or family, etc.):




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20. Have you personally formed any opinion about Mr. Combs’s guilt or innocence of the
    crimes charged as a result of anything you have heard, read, or seen?
             □ Yes              □ No        □ Unsure
             □ Not applicable, I have not read/seen/heard about Mr. Combs
     If yes or unsure, please summarize your opinion:




21. Based on anything that you have read, seen, or heard about Mr. Combs, including
    anything about the criminal charges against Mr. Combs, have you formed any opinions
    about Mr. Combs that might make it difficult for you to be a fair and impartial juror in
    this case?
             □ Yes              □ No        □ Unsure
             □ Not applicable, I have not read/seen/heard about Mr. Combs
     If yes or unsure, please summarize your opinion:




22. Have you communicated to others, or posted your opinion on social media or online,
    about Mr. Combs?
             □ Yes              □ No        □ Unsure
             □ Not applicable, I have not read/seen/heard about Mr. Combs
     If yes, when and where did you state or post your opinion:

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 23. Based on anything you have read, seen, or heard about Mr. Combs, including anything
     about criminal charges brought against Mr. Combs, would you be able to follow the
     Court’s instruction to put that information out of your mind and decide this case based
     only on the evidence presented at trial?
              □ Yes               □ No        □ Unsure
              □ Not applicable, I have not read/seen/heard about Mr. Combs
      If no or unsure, please summarize your opinion:




                                         DECLARATION


I, Juror Number ___ declare under penalty of perjury that the foregoing answers set forth in this
Jury Questionnaire are true and correct to the best of my knowledge and belief. I have not
discussed my answers with others, or received assistance in completing the questionnaire.


                                                     Signed this ______ day of __________, 2025


   DO NOT WRITE YOUR NAME. PLEASE SIGN USING YOUR JUROR NUMBER.




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